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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                            Civil No.: 19-1878 (MJD/LIB)


John Doe,

                           Plaintiff,

v.                                                     ORDER OF REFERRAL

Carleton College,

                           Defendants.



      IT IS HEREBY ORDERED that pursuant to 28 U.S.C. § 636(b)(1)(B) that

United States Magistrate Judge Leo I. Brisbois is designated to review the Motion to

Dismiss [Doc. #17]. Magistrate Judge Brisbois is to submit proposed findings of fact and

recommendations of law on the motion which may be filed in this matter. An order will

be issued ruling on the motion after the objection period is complete. Defendant shall

contact Magistrate Judge Brisbois’s Chambers to schedule a hearing for the motion.


Dated: October 2, 2019
                                                s/ Michael J. Davis
                                                Michael J. Davis
                                                United States District Court
